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    MINUTE ENTRY
    NORTH, M.J.
    OCTOBER 15, 2020

                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA


    LASHAWN JONES, ET AL.                                        CIVIL ACTION

    VERSUS                                                       NUMBER: 12-0859

    MARLIN N. GUSMAN, ET AL.                                     SECTION: “I”(5)


             The hearing on the City’s Motion for Relief from Court Orders (rec. doc. 1281)

    resumed by Zoom in the presence of a Court Reporter (Karen Ibos). The hearing will

    resume on Monday, October 19, 2020 at 9:00 a.m. The Zoom and Webex call-in links

    remain the same.

             PARTICIPATING:      Elizabeth Cumming        Laura Cowall
                                 Emily Washington         George Eppsteiner
                                 Rick Stanley             Bryan Reuter
                                 Sunni LeBeouf            Harry Rosenberg
                                 Blake Arcuri             Churita Hansell


             New Orleans, Louisiana, this 16th day of    October       , 2020.




                                                       MICHAEL B. NORTH
                                                 UNITED STATES MAGISTRATE JUDGE



MJSTAR (02:50)
